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                 IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF IOWA
                          CENTRAL DIVISION


IOWA LIBERTARIAN PARTY,                  NO. 4:19-CV-00223-CRW-CFB
and THOMAS HALTERMAN,

             Plaintiffs,

vs.

CLAIRE CELSI, in her individual
capacity and as Senator of the               JOINT STATUS REPORT
21st District of                             (SECOND)
the Iowa Senate,

             Defendant.


      COME NOW the Iowa Libertarian Party, Thomas Halterman, and

Claire Celsi (“Parties”) and report on the status of this stayed case:

      1.    This Court stayed the above-captioned case pending the

decision of the Eighth Circuit United States Court of Appeals in a

factually similar case, Campbell v. Reisch, No. 19-2994.

      2.    The parties agree that the stay in this case should continue

until the appellate result in Campbell is final.

      3.    The Eighth Circuit issued its opinion in Campbell on January

27, 2021.
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     4.    After learning that the plaintiff in Campbell planned to

appeal further and had indeed filed a combined petition for panel

rehearing or rehearing en banc on February 10, 2021, the parties

requested that the case remain stayed until thirty days after the Eighth

Circuit issued the mandate in Campbell.

     5.    The Eighth Circuit denied panel or en banc rehearing and

issued the mandate in Campbell on March 10, 2021.

     6.    Undersigned counsel for plaintiffs contacted counsel for the

plaintiff in the Campbell case and learned that the Campbell plaintiff

plans to file a petition for writ of certiorari with the United States

Supreme Court.

     7.    As the parties here have agreed that this case should remain

stayed until the Campbell case is final, the parties respectfully suggest

that the Court order that this case remain stayed.

     8.    The parties also respectfully suggest that the Court order the

parties to file a joint status report on or before July 8, 2021, which is 30

days following the expiration of the Campbell plaintiff’s time for filing a

petition for writ of certiorari—i.e., 90 days following denial of rehearing.

Sup. Ct Rule 13.1, 13.3.



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     ACCORDINGLY, the parties jointly request that the stay in this

case remain in effect and ask the Court to order a joint status report on

or before July 8, 2021.

                                    Respectfully submitted,

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SERVED BY CM/ECF EMAIL ON:                            Proof of Service
Julia Ofenbakh                           The undersigned certifies that the foregoing
julia@iowadefenders.com                 instrument was served upon each of the persons
                                        identified as receiving a copy by delivery in the
                                        following manner on Apr. 5, 2021.

                                        ☐U.S. Mail            ☐ Fax
                                        ☐Hand Delivery        ☐ Overnight Courtier
                                        ☐Federal Express      ☐ Other
                                        ☒Electronically via CM/ECF

                                        Signature:




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